           Case 2:18-cv-04626-DSF-E Document 1 Filed 05/25/18 Page 1 of 14 Page ID #:1




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            8
                                    UNITED STATES DISTRICT COURT
            9
                                   CENTRAL DISTRICT OF CALIFORNIA
           10
              FABRIC SELECTION, INC., a                      Case No. 2:18-CV-04626
           11 California corporation,
                                                             COMPLAINT FOR:
           12                     Plaintiff,                 (1) COPYRIGHT INFRINGEMENT
                                                             (2) CONTRIBUTORY COPYRIGHT
           13         vs.                                    INFRINGEMENT
           14 TOPSON DOWNS OF CALIFORNIA,                    DEMAND FOR JURY TRIAL
              INC., a California corporation;
           15 WAL-MART STORES, INC., a
              Delaware corporation; DANIEL
           16 ABRAMOVITCH, an individual; and
              DOES 1 through 50, Inclusive,
           17
                                  Defendants.
           18
           19
           20        Fabric Selection, Inc. (“Plaintiff” or “Fabric Selection”) hereby alleges as
           21 follows:
           22                                       PARTIES
           23        1.     Plaintiff Fabric Selection is a California corporation organized and
           24 existing under the laws of the State of California with its principal place of business
           25 located in Los Angeles County.
           26        2.     Plaintiff is informed and believes, and based thereon alleges, that
           27 defendant Topson Downs of California, Inc. (“Topson”) is a corporation organized
           28 and existing under the laws of the State of California, doing business nationwide,

620539.1                                                 1
           Case 2:18-cv-04626-DSF-E Document 1 Filed 05/25/18 Page 2 of 14 Page ID #:2




            1 including in this judicial district. Plaintiff is further informed and believes that
            2 Topson Downs is a manufacturer, importer and/or wholesaler of apparel in the
            3 business of manufacturing and selling garments and apparel to retailers nationwide.
            4         3.     Plaintiff is informed and believes, and based thereon alleges, that
            5 defendant Daniel Abramovitch (“Abramovitch”) is an officer and/or owner of
            6 Topson. Abramovitch has the right and ability to and does supervise the relevant
            7 activities of Defendant Topson’s operations and has a direct financial interest in the
            8 Topson activities that give rise to this litigation.
            9         4.     Plaintiff is informed and believes, and based thereon alleges, that
           10 defendant Wal-Mart Stores, Inc. (“Wal-Mart”) is a corporation organized and
           11 existing under the laws of the State of Delaware, doing business nationwide,
           12 including within this judicial district. Plaintiff is further informed and believes that
           13 Wal-Mart operates retail stores and a website in the business of selling garments,
           14 apparel, and other goods to consumers nationwide.
           15         5.     Plaintiff is informed and believes, and based thereon alleges, that
           16 defendants DOES 1 through 50, inclusive, have infringed Plaintiff’s Copyrights,
           17 have contributed to infringement of Plaintiff’s Copyrights, and/or engaged in one or
           18 more of the torts, breaches, and wrongful practices alleged herein. The true names
           19 of DOES 1 through 50, inclusive, are presently unknown to Plaintiff, which
           20 therefore sues said defendants by such fictitious names and will seek leave to amend
           21 this complaint to show their true names and capacities when same have been
           22 ascertained.
           23         6.     Hereinafter defendants Topson, Abramovitch, Wal-Mart, and DOES 1
           24 through 50, inclusive, shall be referred to collectively as “Defendants.”
           25                             JURISDICTION AND VENUE
           26         7.     This action arises under the Copyright Act of 1976, Title 17 U.S.C.
           27 §101 et seq.
           28         8.     This Court has federal question jurisdiction under 28 U.S.C. § 1331 and

620539.1                                                   2
           Case 2:18-cv-04626-DSF-E Document 1 Filed 05/25/18 Page 3 of 14 Page ID #:3




            1 §1338(a).
            2        9.     Venue is proper in this district under 28 U.S.C. §§ 1391(b) and (c).
            3                          THE COPYRIGHTED DESIGNS
            4        10.    Fabric Selection is the author of, and copyright holder in, the original
            5 print design which it has internally designated as DU525 (“Design A”). Attached
            6 hereto as Exhibit “1” is a true and correct copy of Design A.
            7        11.    On or about July 13, 2013, Fabric Selection obtained a Certificate of
            8 Registration for Design A from the United States Copyright Office, bearing
            9 registration number VAu 1-195-968. Attached hereto as Exhibit “2” is a true and
           10 correct copy of the Certificate of Registration for Design A (the “Copyrighted
           11 Design A”).
           12        12.    Fabric Selection is the author of, and copyright holder in, the original
           13 print design which it has internally designated as DU322 (“Design B”). Attached
           14 hereto as Exhibit “3” is a true and correct copy of Design B.
           15        13.    On or about December 29, 2012, Fabric Selection obtained a Certificate
           16 of Registration for Design B from the United States Copyright Office, bearing
           17 registration number VAu 1-124-261. Attached hereto as Exhibit “4” is a true and
           18 correct copy of the Certificate of Registration for Design B (“Copyrighted Design
           19 B”).
           20        14.    Fabric Selection is the author of, and copyright holder in, the original
           21 print design which it has internally designated as DU384 (“Design C”). Attached
           22 hereto as Exhibit “5” is a true and correct copy of Design C.
           23        15.    On or about February 16, 2013, Fabric Selection obtained a Certificate
           24 of Registration for Design C from the United States Copyright Office, bearing
           25 registration number VAu 1-124-146. Attached hereto as Exhibit “6” is a true and
           26 correct copy of the Certificate of Registration for Design C (“Copyrighted Design
           27 C”).
           28        16.    Fabric Selection is the author of, and copyright holder in, the original

620539.1                                                 3
           Case 2:18-cv-04626-DSF-E Document 1 Filed 05/25/18 Page 4 of 14 Page ID #:4




            1 print design which it has internally designated as DU461 (“Design D”). Attached
            2 hereto as Exhibit “7” is a true and correct copy of Design D.
            3        17.    On or about May 4, 2013, Fabric Selection obtained a Certificate of
            4 Registration for Design D from the United States Copyright Office, bearing
            5 registration number VAu 1-134-449. Attached hereto as Exhibit “8” is a true and
            6 correct copy of the Certificate of Registration for Design D (“Copyrighted Design
            7 D”).
            8        18.    Fabric Selection is the author of, and copyright holder in, the original
            9 print design which it has internally designated as SE30934 (“Design E”). Attached
           10 hereto as Exhibit “9” is a true and correct copy of Design E.
           11        19.    On or about September 21, 2013, Fabric Selection obtained a
           12 Certificate of Registration for Design E from the United States Copyright Office,
           13 bearing registration number VAu 1-144-637. Attached hereto as Exhibit “10” is a
           14 true and correct copy of the Certificate of Registration for Design D (“Copyrighted
           15 Design E”).
           16        20.    Fabric Selection is the author of, and copyright holder in, the original
           17 print design which it has internally designated as SE31063 (“Design F”). Attached
           18 hereto as Exhibit “11” is a true and correct copy of Design F.
           19        21.    On or about November 2, 2013, Fabric Selection obtained a Certificate
           20 of Registration for Design F from the United States Copyright Office, bearing
           21 registration number VAu 1-151-678. Attached hereto as Exhibit “12” is a true and
           22 correct copy of the Certificate of Registration for Design F (“Copyrighted Design
           23 F”).
           24        22.    Fabric Selection is the author of, and copyright holder in, the original
           25 print design which it has internally designated as SE31266 (“Design G”). Attached
           26 hereto as Exhibit “13” is a true and correct copy of Design G.
           27        23.    On or about December 28, 2013, Fabric Selection obtained a Certificate
           28 of Registration for Design G from the United States Copyright Office, bearing

620539.1                                                4
           Case 2:18-cv-04626-DSF-E Document 1 Filed 05/25/18 Page 5 of 14 Page ID #:5




            1 registration number VAu 1-155-087. Attached hereto as Exhibit “14” is a true and
            2 correct copy of the Certificate of Registration for Design G (“Copyrighted Design
            3 G”).
            4        24.    Fabric Selection is the author of, and copyright holder in, the original
            5 print design which it has internally designated as SE20448 (“Design H”). Attached
            6 hereto as Exhibit “15” is a true and correct copy of Design H.
            7        25.    On or about April 24, 2012, Fabric Selection obtained a Certificate of
            8 Registration for Design H from the United States Copyright Office, bearing
            9 registration number VAu 1-124-274. Attached hereto as Exhibit “16” is a true and
           10 correct copy of the Certificate of Registration for Design H (“Copyrighted Design
           11 H”).
           12        26.    Fabric Selection is the author of, and copyright holder in, the original
           13 print design which it has internally designated as SE20566 (“Design I”). Attached
           14 hereto as Exhibit “17” is a true and correct copy of Design I.
           15        27.    On or about June 2, 2012, Fabric Selection obtained a Certificate of
           16 Registration for Design I from the United States Copyright Office, bearing
           17 registration number VAu 1-103-236. Attached hereto as Exhibit “18” is a true and
           18 correct copy of the Certificate of Registration for Design I (“Copyrighted Design
           19 I”).
           20        28.    Fabric Selection is the author of, and copyright holder in, the original
           21 print design which it has internally designated as SE31051 (“Design J”). Attached
           22 hereto as Exhibit “19” is a true and correct copy of Design J.
           23        29.    On or about October 12, 2013, Fabric Selection obtained a Certificate
           24 of Registration for Design J from the United States Copyright Office, bearing
           25 registration number VAu 1-144-874. Attached hereto as Exhibit “20” is a true and
           26 correct copy of the Certificate of Registration for Design J (“Copyrighted Design
           27 J”).
           28        30.    Fabric Selection is the author of, and copyright holder in, the original

620539.1                                                 5
           Case 2:18-cv-04626-DSF-E Document 1 Filed 05/25/18 Page 6 of 14 Page ID #:6




            1 print design which it has internally designated as SE31094 (“Design K”). Attached
            2 hereto as Exhibit “21” is a true and correct copy of Design K.
            3        31.    On or about November 2, 2013, Fabric Selection obtained a Certificate
            4 of Registration for Design K from the United States Copyright Office, bearing
            5 registration number VAu 1-151-683. Attached hereto as Exhibit “22” is a true and
            6 correct copy of the Certificate of Registration for Design K (“Copyrighted Design
            7 K”).
            8        32.    Fabric Selection is the author of, and copyright holder in, the original
            9 print design which it has internally designated as SE31140 (“Design L”). Attached
           10 hereto as Exhibit “23” is a true and correct copy of Design L.
           11        33.    On or about November 16, 2013, Fabric Selection obtained a
           12 Certificate of Registration for Design L from the United States Copyright Office,
           13 bearing registration number VAu 1-151-710. Attached hereto as Exhibit “24” is a
           14 true and correct copy of the Certificate of Registration for Design L (“Copyrighted
           15 Design L”).
           16        34.    Fabric Selection is the author of, and copyright holder in, the original
           17 print design which it has internally designated as SE31193 (“Design M”). Attached
           18 hereto as Exhibit “25” is a true and correct copy of Design M.
           19        35.    On or about December 14, 2013, Fabric Selection obtained a Certificate
           20 of Registration for Design M from the United States Copyright Office, bearing
           21 registration number VAu 1-151-716. Attached hereto as Exhibit “26” is a true and
           22 correct copy of the Certificate of Registration for Design M (“Copyrighted Design
           23 M”).
           24        36.    Fabric Selection is the author of, and copyright holder in, the original
           25 print design which it has internally designated as SE312103 (“Design N”).
           26 Attached hereto as Exhibit “27” is a true and correct copy of Design N.
           27        37.    On or about December 28, 2013, Fabric Selection obtained a Certificate
           28 of Registration for Design N from the United States Copyright Office, bearing

620539.1                                                6
           Case 2:18-cv-04626-DSF-E Document 1 Filed 05/25/18 Page 7 of 14 Page ID #:7




            1 registration number VAu 1-155-088. Attached hereto as Exhibit “28” is a true and
            2 correct copy of the Certificate of Registration for Design N (“Copyrighted Design
            3 N”).
            4        38.    Fabric Selection is the author of, and copyright holder in, the original
            5 print design which it has internally designated as SE40199 (“Design O”). Attached
            6 hereto as Exhibit “29” is a true and correct copy of Design O.
            7        39.    On or about February 1, 2014, Fabric Selection obtained a Certificate
            8 of Registration for Design O from the United States Copyright Office, bearing
            9 registration number VAu 1-158-003. Attached hereto as Exhibit “30” is a true and
           10 correct copy of the Certificate of Registration for Design O (“Copyrighted Design
           11 O”).
           12        40.    Fabric Selection is the author of, and copyright holder in, the original
           13 print design which it has internally designated as SE405106 (“Design P”). Attached
           14 hereto as Exhibit “31” is a true and correct copy of Design P.
           15        41.    On or about June 7, 2014, Fabric Selection obtained a Certificate of
           16 Registration for Design P from the United States Copyright Office, bearing
           17 registration number VAu 1-169-896. Attached hereto as Exhibit “32” is a true and
           18 correct copy of the Certificate of Registration for Design P (“Copyrighted Design
           19 P”).
           20        42.    Fabric Selection is the author of, and copyright holder in, the original
           21 print design which it has internally designated as SE40554 (“Design Q”). Attached
           22 hereto as Exhibit “33” is a true and correct copy of Design Q.
           23        43.    On or about June 7, 2014, Fabric Selection obtained a Certificate of
           24 Registration for Design Q from the United States Copyright Office, bearing
           25 registration number VAu 1-169-996. Attached hereto as Exhibit “34” is a true and
           26 correct copy of the Certificate of Registration for Design Q (“Copyrighted Design
           27 Q”).
           28        44.    Fabric Selection is the author of, and copyright holder in, the original

620539.1                                                7
           Case 2:18-cv-04626-DSF-E Document 1 Filed 05/25/18 Page 8 of 14 Page ID #:8




            1 print design which it has internally designated as SE407117 (“Design R”).
            2 Attached hereto as Exhibit “35” is a true and correct copy of Design R.
            3        45.    Fabric Selection is the author of, and copyright holder in, the original
            4 print design which it has internally designated as SE40802 (“Design S”). Attached
            5 hereto as Exhibit “36” is a true and correct copy of Design S.
            6        46.    On or about August 9, 2014, Fabric Selection obtained a Certificate of
            7 Registration for Design R and Design S from the United States Copyright Office,
            8 bearing registration number VAu 1-180-606. Attached hereto as Exhibit “37” is a
            9 true and correct copy of the Certificate of Registration for Design R and Design S
           10 (“Copyrighted Designs R and S”).
           11        47.    Fabric Selection is the author of, and copyright holder in, the original
           12 print design which it has internally designated as SE407137 (“Design T”). Attached
           13 hereto as Exhibit “38” is a true and correct copy of Design T.
           14        48.    On or about August 2, 2014, Fabric Selection obtained a Certificate of
           15 Registration for Design T from the United States Copyright Office, bearing
           16 registration number VAu 1-180-626. Attached hereto as Exhibit “39” is a true and
           17 correct copy of the Certificate of Registration for Design T (“Copyrighted Design
           18 T”).
           19        49.    Fabric Selection is the author of, and copyright holder in, the original
           20 print design which it has internally designated as SE41080 (“Design U”). Attached
           21 hereto as Exhibit “40” is a true and correct copy of Design U.
           22        50.    On or about November 6, 2014, Fabric Selection obtained a Certificate
           23 of Registration for Design U from the United States Copyright Office, bearing
           24 registration number VAu 1-187-459. Attached hereto as Exhibit “41” is a true and
           25 correct copy of the Certificate of Registration for Design U (“Copyrighted Design
           26 U”).
           27        51.    Fabric Selection is the author of, and copyright holder in, the original
           28 print design which it has internally designated as SE412104 (“Design V”).

620539.1                                                8
           Case 2:18-cv-04626-DSF-E Document 1 Filed 05/25/18 Page 9 of 14 Page ID #:9




            1 Attached hereto as Exhibit “42” is a true and correct copy of Design V.
            2         52.   On or about December 18, 2014, Fabric Selection obtained a Certificate
            3 of Registration for Design V from the United States Copyright Office, bearing
            4 registration number VAu 1-193-175. Attached hereto as Exhibit “43” is a true and
            5 correct copy of the Certificate of Registration for Design V (“Copyrighted Design
            6 V”).
            7         53.   Design A, Design B, Design C, Design D, Design E, Design F, Design
            8 G, Design H, Design I, Design J, Design K, Design L, Design M, Design N, Design
            9 O, Design P, Design Q, Design R, Design S, Design T, Design U, and Design V are
           10 sometimes referred to herein, collectively, as the “Designs.”
           11                             FIRST CLAIM FOR RELIEF
           12                  (Copyright Infringement – Against All Defendants)
           13         54.   Plaintiff repeats and re-alleges the allegations contained in paragraphs 1
           14 through 53 hereinabove, and incorporates them by reference as if fully set forth
           15 herein.
           16         55.   Within the last three years, Defendants have manufactured and/or sold
           17 fabric and/or garments upon which were unauthorized reproductions of the
           18 Copyrighted Designs (the “Infringing Goods”).
           19         56.   Defendants have imported, caused to be imported, licensed,
           20 manufactured, sold, advertised for sale and/or otherwise offered for sale the
           21 Infringing Goods to customers, including retailers and consumers, throughout the
           22 United States, including within this judicial district.
           23         57.   By    Defendants’    knowingly     unauthorized   licensing,   importing,
           24 manufacturing, advertising, offering for sale and/or sale of the Infringing Goods,
           25 Defendants have infringed on Plaintiff’s Copyrights in the Designs.
           26         58.   Plaintiff is without adequate remedy at law to prevent the wrongful acts
           27 of Defendants herein set forth, and said acts of Defendants have resulted and will
           28 result in irreparable damage to Plaintiff unless Defendants’ acts of infringement are

620539.1                                                  9
       Case 2:18-cv-04626-DSF-E Document 1 Filed 05/25/18 Page 10 of 14 Page ID #:10




            1 enjoined by this Court.
            2         59.   Defendants’ intentional infringing activities have continued and will
            3 continue to the detriment of Plaintiff, and loss and injury to Plaintiff’s business in an
            4 amount not presently ascertainable, and threaten to increase such loss and injury
            5 unless such activities are enjoined by this Court and Defendants are required to
            6 recall and destroy all Infringing Goods.
            7         60.   By reason of the acts of Defendants alleged herein, Plaintiff has
            8 suffered actual damages in an amount subject to proof at trial.
            9         61.   Due to Defendants’ acts of copyright infringement, Defendants, and
           10 each of them, have obtained profits they would not otherwise have realized but for
           11 their infringement of the Designs.       Pursuant to the Copyright Act, Plaintiff is
           12 entitled to disgorgement of Defendants’ profits attributable to Defendants’
           13 infringement of the Designs in an amount subject to proof at trial. Plaintiff is further
           14 entitled to recover its lost profits by virtue of Defendants’ acts of infringement,
           15 which are subject to proof at trial.
           16         62.   Plaintiff is informed and believes, and based thereon alleges, that
           17 Defendants’ acts of infringement as alleged herein were willful and deliberate.
           18 Accordingly, in the event that Plaintiff elects statutory damages, Defendants, and
           19 each of them, are subject to liability for statutory damages under Section 504(c)(2)
           20 of the Copyright Act in the sum of up to one hundred fifty thousand dollars
           21 ($150,000.00) for each violation, payable jointly and severally by each Defendant,
           22 in the full amount. In the event that any of the Doe Defendants are additional
           23 retailers, Plaintiff is entitled to, and will seek, a separate award of maximum
           24 statutory damages as to each such additional Defendant’s infringement (for which
           25 defendant Topson will be jointly and severally liable).
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620539.1                                                 10
       Case 2:18-cv-04626-DSF-E Document 1 Filed 05/25/18 Page 11 of 14 Page ID #:11




            1                           SECOND CLAIM FOR RELIEF
            2           (Contributory Copyright Infringement – Against All Defendants)
            3        63.    Plaintiff repeats and realleges the allegations contained in paragraphs 1
            4 through 62 hereinabove, and incorporates them by reference as if fully set forth
            5 herein.
            6        64.    Plaintiff is informed and believes, and based thereon alleges, that
            7 Defendants, and each of them, knowingly induced, participated in, aided in, and
            8 profited from the illegal reproduction of Plaintiff’s Designs and/or subsequent
            9 importing, advertising and/or sale of the Infringing Goods, as alleged above.
           10        65.    By Defendants’ unauthorized duplication of the Designs, and by their
           11 offering and accepting for sale and sale of the Infringing Goods, Defendants, and
           12 each of them, have infringed Plaintiff’s Copyrights in the Designs.
           13        66.    Plaintiff is informed and believes, and based thereon alleges, that
           14 Defendants’ acts of infringement as alleged herein were willful and deliberate.
           15        67.    By reason of Defendants’ acts of contributory copyright infringement
           16 as alleged herein, Plaintiff is without adequate remedy at law to prevent the
           17 wrongful acts of Defendants herein set forth, and said acts of Defendants have
           18 resulted and will result in irreparable damage to Plaintiff unless Defendants’ acts of
           19 infringement are enjoined by this Court.
           20        68.    Defendants’ infringing activities have continued and will continue to
           21 the detriment of Plaintiff and loss and injury to Plaintiff’s business in an amount not
           22 presently ascertainable, and threaten to increase such loss and injury unless such
           23 activities are enjoined by this Court and Defendants are required to recall and
           24 destroy all Infringing Goods and designs.
           25        69.    By reason of the acts of Defendants alleged herein, Plaintiff has
           26 suffered actual damages in an amount subject to proof at trial.
           27        70.    Due to Defendants’ acts of contributory copyright infringement,
           28 Defendants, and each of them, have obtained profits they would not otherwise have

620539.1                                                 11
       Case 2:18-cv-04626-DSF-E Document 1 Filed 05/25/18 Page 12 of 14 Page ID #:12




            1 realized but for their infringement of the Designs. As such, Plaintiff is entitled to
            2 disgorgement of Defendants’ profits attributable to Defendants’ infringement of the
            3 Designs in an amount subject to proof at trial. Plaintiff is further entitled to recover
            4 its lost profits by virtue of Defendants’ acts of infringement, which are subject to
            5 proof at trial.
            6         71.   Plaintiff is informed and believes and based thereon alleges that
            7 Defendants’ acts of infringement as alleged herein were willful and deliberate.
            8 Accordingly, in the event that Plaintiff elects statutory damages, Defendants, and
            9 each of them, are subject to liability for statutory damages under Section 504(c)(2)
           10 of the Copyright Act in the sum of up to one hundred fifty thousand dollars
           11 ($150,000) for each violation, payable separately, in the full amount, by each
           12 infringing defendant.
           13                                        PRAYER
           14         WHEREFORE, Plaintiff prays for relief against Defendants, and each of
           15 them, as follows:
           16 As to First Cause of Action (Copyright Infringement)
           17         1.    For a preliminary injunction and a permanent injunction, restraining
           18 Defendants and their agents, servants, employees, and all persons acting under, in
           19 concert with, or for them, from using Plaintiff’s Designs for any purpose, including
           20 but not limited to, use of the Designs in attempting to sell and/or selling garments.
           21         2.    For an order requiring the recall and destruction of all garments
           22 infringing upon the Designs.
           23         3.    Actual damages, plus Defendants’ profits attributable to Defendants’
           24 infringement of the Design, in an amount subject to proof at trial; or, if elected,
           25 maximum statutory damages as available under the Copyright Act.
           26         4.    For attorneys’ fees where allowed by law.
           27         5.    For such further and other relief as the Court deems just and proper.
           28

620539.1                                                 12
       Case 2:18-cv-04626-DSF-E Document 1 Filed 05/25/18 Page 13 of 14 Page ID #:13




            1 As to Second Cause of Action (Contributory Copyright Infringement)
            2        6.     For a preliminary injunction and a permanent injunction, restraining
            3 Defendants and their agents, servants, employees, and all persons acting under, in
            4 concert with, or for them, from using Plaintiff’s Designs for any purpose, including
            5 but not limited to, use of the Designs in attempting to sell and/or selling garments.
            6        7.     For an order requiring the recall and destruction of all garments
            7 infringing upon the Designs.
            8        8.     Actual damages, plus Defendants’ profits attributable to Defendants’
            9 contributory infringement of the Design, in an amount subject to proof at trial; or, if
           10 elected, maximum statutory damages as available under the Copyright Act.
           11        9.     For attorneys’ fees where allowed by law.
           12        10.    For such further and other relief as the Court deems just and proper.
           13
           14 Dated: May 25, 2018                  RESCH POLSTER & BERGER LLP
           15
           16                                      By:            /S/ Michael C. Baum
           17                                                     MICHAEL C. BAUM
                                                                  Attorneys for Plaintiff
           18                                                     Fabric Selection, Inc.

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       Case 2:18-cv-04626-DSF-E Document 1 Filed 05/25/18 Page 14 of 14 Page ID #:14




           1                            DEMAND FOR JURY TRIAL
            2       Plaintiff hereby demands a trial by jury in this action.
            3
            4 Dated: May 25, 2018                 RESCH POLSTER & BERGER LLP
            5
            6                                     By:             /S/ Michael C. Baum
            7                                                     MICHAEL C. BAUM
                                                                  Attorneys for Plaintiff
            8                                                     Fabric Selection, Inc.

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